Case 2:04-cr-20009-STA Document 63 Filed 07/22/05 Page 1 of 3 Page|D 56

IN THE UNITED sTATEs DISTRICT COURT F‘LED BVA-?D-°-

FOR THE wEsTERN DISTRICT oF TENNESSEE 05
wEsTERN DIVISION ' JUL 22 PH l=57

 

umwa M.
ama us mr§?%m

UNITE:D sTATEs OF AMERICA W/DEF ?E"';\#TiES/{Pi-HS

Plaintiff,

Criminal No.tO__Li-S`O'OO§ Ml

V.

J'€> k.._ _):ei`.>¢ §?ree/`

(60-Day Continuance)

 

 

 

 

V`,»VVV~_'VVV~_¢VV~_/VVVVWV

Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the August
2005, criminal rotation calendar, but is now RESET for report at
€3?`35' ¢~/V\ l /q\; `,J} IS`,Q`OQI-. n
§H1Hr1rnn. on Fridav, Seat;mbe§=g§==ég§&§, With trial to take place
on the October, 2005, rotation calendar with the time excluded
under the Speedy Trial Act through October 14, 2005. Agreed in

open court at report date this 22M'day of July, 2005.

Tnie document entered on the docket sheet in compliance
f

with eula se ami/or 32{1;)) Fnch on /'3¢;;¢!§ § z _

Case 2:04-cr-20009-STA Document 63 Filed 07/22/05 Page 2 of 3 Page|D 57

so oRDsRED this 22nd day of July, 2005.

£M LD° @.Q§L
JON PHIPPS MCCALLA
21 U'N ED STATES DISTRICT JUDGE
/

%M>
V/IJM /§Q\/`V

Assistant Uriited States Attorney

 

 

 

 

Counsel for Defendant (s)

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 63 in
case 2:04-CR-20009 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

ENNESSEE

 

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Stephen A. Sauer

LAW OFFICE OF STEPHEN A. SAUER
8 S. Third St.

4th Floor

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

